Case 2:23-cv-08869-NJC-ARL Document 26 Filed 12/13/23 Page 1 of 2 PageID #: 493




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 DIANE T. CLARKE, ILANA KOPMAR,
 ISAAC ALTMAN, and DAVID ROSENFELD,

                        Plaintiffs,

               -against-

 THE ASSOCIATION OF LEGAL AID
 ATTORNEYS, AMALGAMATED LOCAL
 UNION 2325 OF THE INTERNATIONAL                         Index No. 2:23-cv-08869 (NJC)(ARL)
 UNION, UNITED AUTOMOBILE
 AEROSPACE AND AGRICULTURAL
 IMPLEMENT WORKERS OF AMERICA
 (UAW), AFL-CIO, LISA OHTA, BRET J.
 TAYLOR, JEREMY BUNYANER, EMILY C.
 EATON, MARTYNA KAZNOWSKI,
 GILLIAN R. KRESS, JOANA CALIN, PUJA
 PAUL,

                        Defendants.


                    [PROPOSED] PRELIMINARY INJUNCTION ORDER

        THIS MATTER comes before the Court upon the application of Plaintiffs Diane T.

 Clarke, Ilana Kopmar, Isaac Altman, and David Rosenfeld (collectively, “Plaintiffs”) for entry of

 a Preliminary Injunction (the “Application”) against the Association of Legal Aid Attorneys,

 Amalgamated Local Union 2325 of the International Union, United Automobile Aerospace and

 Agricultural Implement Workers Of America (UAW), AFL-CIO (“ALAA”), Lisa Ohta, Bret J.

 Taylor, Jeremy Bunyaner, Emily C. Eaton, Martyna Kaznowski, Gillian R. Kress, Joana Calin,

 and Puja Paul (collectively, “Defendants”) enjoining Defendants and their affiliates, officers,

 agents, servants, employees, attorneys, confederates, and all persons acting for, with, by,

 through, under or in active concert with Defendants from conducting a vote on, adopting, or

 issuing the “Resolution Calling for a Ceasefire in Gaza, an End to the Israeli Occupation of
Case 2:23-cv-08869-NJC-ARL Document 26 Filed 12/13/23 Page 2 of 2 PageID #: 494




 Palestine, and Support for Workers’ Political Speech” (the “Resolution”) or any substantially

 similar resolution on behalf of the ALAA members. Having reviewed the papers in support of

 the Application, the submissions in connection with Defendants’ Motion to Dissolve the TRO,

 the submissions and proceedings, including the transcript of the November 21, 2023 hearing

 before Judge Felice J. Muraca, Supreme Court of New York, Nassau County, prior to the

 removal of this action, the Court finds that Plaintiffs meet the criteria for entry of preliminary

 injunctive relief.

         THIS COURT having determined that the evidence submitted in support of the

 Application establishes that Plaintiffs have a likelihood of success on the merits; that no remedy

 at law exists; and that Plaintiffs will suffer irreparable harm, if the injunction is not granted; and

         THIS COURT having determined, therefore, that issuing this Preliminary Injunction is

 warranted under Federal Rule of Civil Procedure 65;

         NOW THEREFORE, this Court ORDERS that Defendants and their affiliates, officers,

 agents, servants, employees, attorneys, confederates, and all persons acting for, with, by,

 through, under or in active concert with Defendants be temporarily enjoined and restrained from

 conducting a vote on, adopting, or issuing the Resolution or any substantially similar resolution

 on behalf of the ALAA members until further order of this Court.


 Dated: Central Islip, New York
        December __, 2023

                                                                 NUSRAT J. CHOUDHURY
                                                                 United States District Judge




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